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 9

10                                   UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                      SAN FRANCISCO DIVISION
13

14
     CATHERINE M. BEARDSLEY, an                      Case No.
15   individual,
                                                     COMPLAINT FOR EMPLOYMENT
16                      Plaintiff,                   DISCRIMINATION AND HARASSMENT
                                                     AND FOR INJUNCTIVE RELIEF
17         v.
18   ORACLE CORPORATION, a
     corporation, ORACLE FINANCIAL
19   SERVICES SOFTWARE, INC., a
     corporation, and Does 1-25, inclusive,          DEMAND FOR JURY TRIAL
20
                        Defendants.
21

22
                                            INTRODUCTION
23
                This case of employment discrimination and harassment arises from the wrongful
24
     termination of employment and treatment CATHERINE M. BEARDSLEY received during her
25
     employment with ORACLE FINANCIAL SERVICES SOFTWARE, INC., a subsidiary of
26
     ORACLE CORPORATION. Brought under Title VII of the Civil Rights Act of 1964, as
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                    COMPLAINT FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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 1   amended, and the Age Discrimination in Employment Act, as amended, this action by

 2   BEARDSLEY seeks remedies and injunctive relief under each statute based upon a common set

 3   of facts and circumstances.

 4

 5          WHEREFORE, Plaintiff CATHERINE M. BEARDSLEY hereby alleges:

 6

 7                                             PARTIES
 8          1.      Plaintiff CATHERINE M. BEARDSLEY, hereinafter “Plaintiff” or

 9   “BEARDSLEY,” is now a 66-year old female resident of Arizona, who was employed by

10   ORACLE FINANCIAL SERVICES SOFTWARE, INC. as an Application Sales Representative

11   assigned to a Sales Team with other Application Sales Representatives located throughout the

12   United States. She was one of two women, both of whom were older, of the eleven members of

13   the Sales Team who sold the same ORACLE products throughout the country.

14          2.      Defendant ORACLE CORPORATION is a computer technology corporation

15   headquartered in the City of Redwood Shores, County of San Mateo, State of California, and is

16   the parent company to Defendant ORACLE FINANCIAL SERVICES SOFTWARE, INC. At all

17   relevant times mentioned herein, Defendant ORACLE CORPORATION maintained offices in

18   the states of California and Arizona, and was conducting business throughout the country.

19          3.      Defendant ORACLE FINANCIAL SERVICES SOFTWARE, INC (“OFSS”) is a

20   computer technology company that sells ORACLE’s software for financial institutions. OFSS, a

21   corporation headquartered in the City of Edison, in Middlesex County, New Jersey, is a

22   subsidiary of Defendant ORACLE CORPORATION. At all relevant times mentioned herein,

23   Defendant OFSS was conducting business in the states of California, Arizona and throughout the

24   country.

25          4.      At all relevant times mentioned herein Defendants ORACLE FINANCIAL

26   SERVICES SOFTWARE, INC. and ORACLE CORPORATION (hereinafter collectively

27   referred to as “ORACLE” or “Defendants”) were conducting business in the states of California

28   and Arizona, as well as throughout the country.
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 1          5.      Defendants DOES ONE through TWENTY-FIVE are individuals or corporations

 2   who are sued herein under fictitious names. Their true names and capacities are unknown to

 3   Plaintiff. Plaintiff is informed and believes and thereon alleges that each fictitiously named

 4   Defendant is responsible in some way for the occurrences herein alleged and Plaintiff’s damages

 5   herein alleged were caused by each of the Defendants. Plaintiff will seek leave of court to

 6   provide the true identities of DOES ONE through TWENTY-FIVE when they become known.

 7

 8                                             JURISDICTION
 9          6.      This action is based on federal statutory claims for employment discrimination

10   and harassment under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e

11   et seq., and the Age Discrimination in Employment Act, as amended, 29 U.S.C. § 621 et seq.

12

13                                 VENUE AND DIVISION ASSIGNMENT
14          7.      Venue is proper in this Court based on the Agreement Plaintiff was required to

15   sign as a condition of her employment with ORACLE whereby the parties agreed that “…any

16   legal action or proceeding involving Oracle which is in any way connected with [their]

17   agreement may be instituted in federal court in San Francisco.…” Further, the related case of

18   Mowry v. Oracle America, Inc., et al, Civil Case No. 3:18-cv-07028-VC, brought by the only

19   other woman, also older, on the same Sales Team who was terminated by ORACLE on the

20   same day as Plaintiff has already been filed in this Court. The forum selection provision signed

21   by the parties and the efficiency and convenience factors for the both the courts and the parties

22   support the two cases being processed through the same federal court.

23          8.       Plaintiff was hired by ORACLE when she resided in Connecticut and attended

24   training in Redwood Shores, California and throughout her employment, she had clients across

25   the country while working out of her home. Later, she worked from her home in Virginia while

26   continuing in the same ASR job, and she now resides in the County of Maricopa, State of

27   Arizona where she worked out of her home for ORACLE until the termination of her

28   employment.
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 1          9.       In accordance with Northern District of California Local Rule 3.2(e), because the

 2   parties consented to the jurisdiction of the federal court in San Francisco, the intradistrict

 3   assignment for this case is properly assigned to the San Francisco Division. .

 4

 5                                       STATEMENT OF FACTS
 6          10.      Plaintiff was first hired as an Application Sales Representative (“ASR”) at

 7   ORACLE on December 10, 2011 while she was residing in Connecticut. She went for training in

 8   Redwood Shores, California. Plaintiff was assigned to generate sales for the Oracle Financial

 9   Services Analytical Applications (“OFSAA”) business unit. The business unit and Sales Team

10   also included managers and ASRs from other subsidiaries of ORACLE, including employees of

11   another one of ORACLE CORPORATION’s subsidiaries, Oracle America, Inc.

12   While at ORACLE, Plaintiff was assigned to a Sales Team (“Team” or “Sales Team”) of eleven

13   individuals, all of whom sold the same products to various clients across the country.

14          11.      The members of the Sales Team worked remotely and were spread out around the

15   country. Over 50% of Plaintiff’s time working for ORACLE was spent traveling for work. When

16   Plaintiff was not traveling, she worked out of her home office in Connecticut, Virginia and,

17   Arizona, each of the locations she lived while working for ORACLE. Other members of her

18   Sales Team regularly visited each of those states to conduct business and meet with clients on

19   behalf of ORACLE because there was no division of clients among the Team based on regions of

20   the country. All members of the Sales Team were assigned clients from across the country.

21          12.      On this Sales Team, only two individuals were female; the other nine team

22   members were all male. Both females on the Team were older, ages 64 and 57, respectively,

23   during the events alleged herein.

24          13.      Plaintiff had significant success in sales for ORACLE as an ASR. Throughout her

25   employment with ORACLE, she contributed over $11 million in net license, plus an additional

26   22%of the license valued at approximately $2.5 million in annual support to the Company.

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                    COMPLAINT FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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 1          14.      Despite her success, throughout her time at ORACLE, Plaintiff was subjected to

 2   an environment of intimidation and marginalization. Plaintiff’s managers, Jason Yesinko and

 3   Prince Varma, both males, harassed her, marginalized her work, and challenged her decision-

 4   making. Similarly situated younger and / or male employees were not harassed, disciplined, or

 5   treated in a similar manner.

 6          15.      Plaintiff felt so vulnerable in her position at ORACLE that she did not submit her

 7   travel and business expenses for reimbursement because she thought that requesting their

 8   approval would make her look bad in the eyes of her managers and subject her to reprimand.

 9          16.      Plaintiff performed well for ORACLE throughout her career. In the Fall, 2016,

10   the sales for the Team overall were down. As a consequence, based on information and belief, on

11   or around October 16, 2016, members of Plaintiff’s Sales Team, including Plaintiff and the other

12   woman, who was also older, were placed on Performance Improvement Plan (“PIP”).

13          17.      In light of her performance, the PIP was unjustified as to Plaintiff. In addition,

14   the PIP given to Plaintiff did not conform to the usual and customary practice in that it did not

15   have an end date or a place for Plaintiff to provide her objections and comments.

16          18.      Prior to the PIP, Plaintiff had received little feedback on her performance at

17   ORACLE, formal or informal. Additionally, prior to the PIP, Plaintiff had not been told that her

18   performance was in any way unsatisfactory.

19          19.      Despite the unwarranted PIP, Plaintiff built a solid pipeline in contracts for

20   ORACLE, including a number of accounts that closed for ORACLE within 60 days after her

21   termination and largely due to Plaintiff’s efforts. Because of the nature and size of these

22   contracts, it takes considerable time and effort to ultimately close the deals and enter into a

23   contract with customers. For example, one of the accounts that Plaintiff had been working on for

24   1.5 years valued at approximately $3 million closed just two months after Plaintiff’s termination.

25   Had she been employed at the time of the close, she would have made her sales goal. Not only

26   did she not get credit for the sale but she lost the commissions that were due to her for the sale.

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 1           20.       After being placed on the PIP, the discrimination and harassment of Plaintiff

 2   continued and intensified. Plaintiff’s managers harassed her and began to micromanage her

 3   work. Only Plaintiff and the other female ASR on her Team, both of whom were older, were

 4   singled out for the discrimination, harassment and marginalization of their work by their

 5   managers, while younger and/or male colleagues were left alone.

 6           21.       Plaintiff in good faith performed all of the obligations of her employment

 7   agreement, including bringing in significant revenue to ORACLE through her accounts.

 8           22.        Plaintiff was willing, ready and able to perform all work required of her under

 9   her employment agreement with ORACLE.

10           23.       On June 30, 2017, Plaintiff’s employment with ORACLE was precipitously

11   terminated. She was 64-years old at the time of her termination.

12           24.       Despite the fact that the entire Sales Team had been on PIPs, the only other

13   individual who was terminated from the Sales Team at the same time as Plaintiff was the other

14   older female, who was 57-years old at the time of her termination.

15           25.       Plaintiff is aware of one male ASR from her Sales Team who transferred into a

16   different Sales Organization within ORACLE. Plaintiff was not afforded the same opportunity.

17           26.       At the time of her termination, Plaintiff had two accounts that were very close to

18   closing and putting her on target to achieve her sales goals. In contrast, two younger male

19   employees who had met significantly less of their quotas for the 2017 fiscal year were retained

20   over Plaintiff.

21           27.        Even though Plaintiff was on target to achieve her sales goals, she was denied the

22   benefit of her work and was subjected to the pattern of discrimination and harassment.

23           28.       Following Plaintiff’s, and the other female ASR’s, termination, their customer

24   accounts were distributed among the men on the Sales Team. Shortly thereafter, largely due to

25   the work that Plaintiff had done on the accounts, several of her former accounts closed in favor

26   of ORACLE. Based on information and belief, the male Supervisors and / or male Team

27   Members received commissions for Plaintiff’s work.

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 1          29.      Based on information and belief, Plaintiff and the other female ASR who was

 2   terminated at the same time were replaced by younger, male ASRs. To Plaintiff’s knowledge,

 3   there are currently no women on the Sales Team.

 4          30.      Plaintiff timely filed a Charge with the Arizona Attorney General Civil Rights

 5   Division and that was crossed filed with the Federal Equal Employment Opportunity

 6   Commission regarding Defendants’ alleged discriminatory and harassing conduct on or about

 7   December 26, 2017. The Charge is attached to this Complaint as Attachment A.
 8          31.      The EEOC issued Plaintiff a Notice-of-Right-to-Sue on or about

 9   November 21, 2018 and is attached to this Complaint as Attachment B.
10

11                                 FIRST CLAIM FOR RELIEF
                   (Employment Discrimination Based on Sex in Violation of Title VII)
12                                      (Against ORACLE)
13
            32.      Plaintiff hereby incorporates by reference paragraphs 1 through 31, inclusive, of
14
     this Complaint as though fully set forth herein.
15
            33.      This claim for relief is brought pursuant to Title VII of the Civil Rights Act of
16
     1964, as amended, 42 U.S.C. §2000e et seq. which prohibits discrimination in employment on
17
     the basis of sex.
18
            34.      At all relevant times, ORACLE had at least 15 employees, and was therefore an
19
     “employer” within the meaning of Title VII.
20
            35.      Plaintiff timely filed charges with the EEOC regarding Defendants’ alleged
21
     discriminatory and harassing conduct on or about December 26, 2017. The EEOC issued
22
     Plaintiff a Notice-of-Right-to-Sue on or about November 21, 2018.
23
            36.      Plaintiff is female.
24
            37.      Plaintiff alleges that her sex, female, was an adverse determining factor in the
25
     terms and conditions of her employment and a determining factor in the termination of her
26
     employment.
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                    COMPLAINT FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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 1          38.      Among other actions, Defendants acted with the intent of discriminating against

 2   Plaintiff because of her sex, female. The discrimination caused Plaintiff harm. The

 3   discrimination resulted in Plaintiff being treated differently from similarly situated males and it

 4   communicated a hostile message to Plaintiff. The acts of Defendants and the discrimination was

 5   designed to interfere, and did interfere, with Plaintiff’s performance of her job. The

 6   discrimination adversely affected the terms and conditions of Plaintiff’s employment. Some

 7   examples of the discrimination Plaintiff was subjected to because of her sex, are:

 8                a. Plaintiff was treated differently than other similarly situated male employees in

 9                   the terms and conditions of her employment for no legitimate business reason;

10                b. Plaintiff was held to different performance standards than other similarly situated

11                   male employees for no legitimate business reason;

12                c. Plaintiff’s work efforts were regularly questioned and marginalized. Plaintiff’s

13                   managers’ micromanaging actions interfered with her work, her ability to do her

14                   job, and her ability to pursue her sales efforts;

15                d. Other similarly situated males were offered support, guidance, transfers and

16                   resources not offered to Plaintiff for no legitimate business reason;

17                e. Plaintiff’s employment was terminated because of her sex and not for any

18                   legitimate business reason.; and,

19                f. ORACLE failed to follow its policies and practices in regard to Plaintiff,

20                   Plaintiff’s employment and the termination of Plaintiff’s employment for no

21                   legitimate business reason.

22          39.      ORACLE has a pattern and practice of discriminating against women and treating

23   women less favorably in the terms and conditions of their employment than similarly situated

24   male employees for no legitimate business reason. This differential and discriminatory treatment

25   interfered with Plaintiff’s ability to do her job and to receive the full benefits of her employment,

26   thereby adversely affecting the terms and conditions of Plaintiff’s employment.

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                    COMPLAINT FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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 1           40.      As a direct and proximate result of ORACLE’S unlawful conduct as herein

 2   alleged, Plaintiff has suffered substantial damages, including lost compensation and benefits, lost

 3   career opportunities and loss of reputation in an amount in excess of the jurisdictional minimum

 4   of this Court, the precise amount to be proven at trial.

 5           41.      As a further, direct and proximate result of ORACLE’S unlawful conduct as

 6   herein alleged, Plaintiff has suffered anguish, humiliation, and emotional distress, the extent of

 7   which is not fully known at this time and the damages for which are not yet fully ascertained, but

 8   which are in an amount in excess of the jurisdictional minimum of this Court, the precise amount

 9   to be proven at trial.

10           42.      The conduct of ORACLE and its agents and employees, as described herein, was

11   oppressive, fraudulent, and malicious, thereby entitling Plaintiff to an award of punitive damages

12   against Defendant in an amount appropriate to punish and make an example of Defendant.

13           WHEREFORE, Plaintiff prays for judgment against Defendants as hereinafter set forth.

14
                                         SECOND CLAIM FOR RELIEF
15
                              (Harassment Based on Sex in Violation of Title VII)
16                                          (Against ORACLE)

17           43.      By this reference, Plaintiff hereby incorporates paragraphs 1 through 42,
18   inclusive, of this Complaint as if set forth herein.
19           44.      This claim for relief is brought pursuant to Title VII of the Civil Rights Act of
20   1964, as amended, 42 U.S.C. §2000e et seq. which prohibits harassment in employment on the
21   basis of sex.
22           45.      At all relevant times, ORACLE had at least 15 employees, and was therefore an
23   “employer” within the meaning of Title VII.
24           46.      Plaintiff timely filed charges with the EEOC regarding Defendants’ alleged
25   discriminatory and harassing conduct on or about December 26, 2017. The EEOC issued
26   Plaintiff a Notice-of-Right-to-Sue on or about November 21, 2018.
27

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 1          47.      Oracle had a practice of tolerating a hostile work environment and failed to take

 2   adequate steps to ensure a harassment-free workplace.

 3          48.      Among other actions, Defendants engaged in the following actions with the intent

 4   of harassing Plaintiff because of her sex, female. The harassment communicated a hostile

 5   message to Plaintiff and was designed to interfere, and did interfere, with Plaintiff’s job

 6   performance. Some examples of the harassment Plaintiff was subjected to because of her sex,

 7   are:

 8                a. Plaintiff and the only other female ASR were regularly and routinely singled out

 9                   and harassed and these actions altered the terms and conditions of her

10                   employment for no legitimate business reason;

11                b. Plaintiff’s work efforts were regularly questioned and marginalized. Plaintiff’s

12                   managers’ micromanaging actions interfered with her work, her ability to do her

13                   job, and her ability to pursue her sales efforts;

14                c. Plaintiff was intimidated into not submitting her expense reports for

15                   reimbursement for fear of reprisal from her managers;

16                d. Plaintiff was held to different performance standards than other similarly situated

17                   male employees for no legitimate business reason;

18                e. Plaintiff’s employment was terminated because of her sex and not for any

19                   legitimate business reason; and,

20                f. ORACLE failed to follow its policies and practices in regard to Plaintiff for no

21                   legitimate business reason.

22          49.      Plaintiff was subjected to this harassment by her managers, Jason Yesinko and

23   Prince Varma. As managers, these individuals were acting as managers and authorized agents of

24   ORACLE, and accordingly, ORACLE is liable for their harassment.

25          50.      As Plaintiff’s employer, ORACLE owed a duty to Plaintiff to prevent

26   discrimination and harassment from occurring against her in the workplace. ORACLE breached

27   its duty to Plaintiff by failing to take any steps to prevent the discrimination and harassment from

28   occurring.
                                                        -10-

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 1           51.      As a direct and proximate result of ORACLE’s unlawful harassment as herein

 2   alleged, Plaintiff has suffered substantial damages, including lost compensation and benefits, lost

 3   career opportunities and loss of reputation in an amount in excess of the jurisdictional minimum

 4   of this Court, the precise amount to be proven at trial.

 5           52.      As a further, direct and proximate result of ORACLE’s unlawful conduct as

 6   herein alleged, Plaintiff has suffered anguish, humiliation, and emotional distress, the extent of

 7   which is not fully known at this time and the damages for which are not yet fully ascertained, but

 8   which are in an amount in excess of the jurisdictional minimum of this Court, the precise amount

 9   to be proven at trial.

10           53.      The conduct of ORACLE and its agents and employees, as described herein, was

11   oppressive, fraudulent, and malicious, thereby entitling Plaintiff to an award of punitive damages

12   against Defendant in an amount appropriate to punish and make an example of Defendant.

13           WHEREFORE, Plaintiff prays for judgment against Defendants as hereinafter set forth.
14

15                                  THIRD CLAIM FOR RELIEF
                   (Employment Discrimination Based on Age in Violation of the ADEA)
16                                       (Against ORACLE)
17
             54.      Plaintiff hereby incorporates by reference paragraphs 1 through 53, inclusive, of
18
     this Complaint as though fully set forth herein.
19
             55.      This claim for relief is brought pursuant to Age Discrimination in Employment
20
     Act, as amended, 29 U.S.C. § 791 et seq. which prohibits discrimination in employment on the
21
     basis of age.
22
             56.      At all relevant times, ORACLE had at least 20 employees, and was therefore an
23
     “employer” within the meaning of the ADEA.
24
             57.      Plaintiff timely filed charges with the EEOC regarding Defendants’ alleged
25
     discriminatory and harassing conduct on or about December 26, 2017. The EEOC issued
26
     Plaintiff a Notice-of-Right-to-Sue on or about November 21, 2018.
27
             58.      Plaintiff was 64-years old at the time of the termination of her employment.
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 1          59.      Plaintiff alleges that her age was an adverse determining factor in the terms and

 2   conditions of her employment and a determining factor in the termination of her employment.

 3          60.      Among other actions, Defendants engaged in the following actions with the intent

 4   of discriminating against Plaintiff because of her age. The discrimination communicated a

 5   hostile message to Plaintiff and was designed to interfere, and did interfere, with Plaintiff’s job

 6   performance. The discrimination adversely affected the terms and conditions of Plaintiff’s

 7   employment. Some examples of the discrimination Plaintiff was subjected to because of her age

 8   are:

 9                a. Plaintiff was treated differently than other similarly situated younger employees

10                   in the terms and conditions of her employment for no legitimate business reason;

11                b. Plaintiff was held to different performance standards than other similarly situated

12                   younger employees for no legitimate business reason;

13                c. Plaintiff’s work efforts were regularly questioned and marginalized. Plaintiff’s

14                   managers’ micromanaging actions interfered with her work, her ability to do her

15                   job, and her ability to pursue her sales efforts;

16                d. Other similarly situated younger employees were offered support, guidance,

17                   transfers and resources not offered to Plaintiff for no legitimate business reason;

18                e. Plaintiff’s employment was terminated because of her age and not for any

19                   legitimate business reason; and,

20                f. ORACLE failed to follow its policies and practices in regard to Plaintiff for no

21                   legitimate business reason.

22          61.      ORACLE has a pattern and practice of discriminating against older employees

23   and particularly treating older employees less favorably in the terms and conditions of their

24   employment than similarly situated younger male employees for no legitimate business reason.

25   This differential and discriminatory treatment interfered with Plaintiff’s ability to do her job and

26   to receive the full benefits of her employment, thereby adversely affecting the terms and

27   conditions of her employment.

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 1             62.    As a direct and proximate result of ORACLE’S unlawful conduct as herein

 2   alleged, Plaintiff has suffered substantial damages, including lost compensation and benefits, lost

 3   career opportunities and loss of reputation in an amount in excess of the jurisdictional minimum

 4   of this Court, the precise amount to be proven at trial.

 5             63.    As a further, direct and proximate result of ORACLE’S unlawful conduct as

 6   herein alleged, Plaintiff has suffered anguish, humiliation, and emotional distress, the extent of

 7   which is not fully known at this time and the damages for which are not yet fully ascertained, but

 8   which are in an amount in excess of the jurisdictional minimum of this Court, the precise amount

 9   to be proven at trial.

10             64.    The conduct of ORACLE and its agents and employees, as described herein, was

11   oppressive, fraudulent, and malicious, thereby entitling Plaintiff to an award of punitive damages

12   against Defendant in an amount appropriate to punish and make an example of Defendant.

13             WHEREFORE, Plaintiff prays for judgment against Defendants as hereinafter set forth.

14

15                                 FOURTH CLAIM FOR RELIEF
                           (Harassment Based on Age in Violation of the ADEA)
16
                                          (Against ORACLE)
17
               65.    By this reference, Plaintiff hereby incorporates paragraphs 1 through 64,
18
     inclusive, of this Complaint as if set forth herein.
19
               66.    This claim for relief is brought pursuant to Age Discrimination in Employment
20
     Act, as amended, 29 U.S.C. § 791 et seq. which prohibits harassment in employment on the basis
21
     of age.
22
               67.    At all relevant times, ORACLE had at least 20 employees, and was therefore an
23
     “employer” within the meaning of the ADEA.
24
               68.    Plaintiff timely filed charges with the EEOC regarding Defendants’ alleged
25
     discriminatory and harassing conduct on or about December 26, 2017. The EEOC issued a
26
     Notice-of-Right-to-Sue which was received by Plaintiff on or about November 21, 2018.
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 1          69.      Among other actions, Defendants engaged in the following actions with the intent

 2   of harassing Plaintiff because of her age. The harassment communicated a hostile message to

 3   Plaintiff and was designed to interfere, and did interfere, with her job performance. Some

 4   examples of the harassment Plaintiff was subjected to because of her age, are:

 5                a. Plaintiff was treated differently than other similarly situated younger employees

 6                   in the terms and conditions of her employment for no legitimate business reason;

 7                b. Plaintiff’s work efforts were regularly questioned and marginalized. Plaintiff’s

 8                   managers’ micromanaging actions interfered with her work, her ability to do her

 9                   job, and her ability to pursue her sales efforts;

10                c. Plaintiff was intimidated into not submitting her expense reports for

11                   reimbursement for fear of reprisal from her managers;

12                d. Plaintiff was held to different performance standards than other similarly situated

13                   younger employees for no legitimate business reason;

14                e. Plaintiff’s employment was terminated because of her age and not for any

15                   legitimate business reason; and,

16                f. ORACLE failed to follow its policies and practices in regard to Plaintiff for no

17                   legitimate business reason.

18          70.      Plaintiff was subjected to this harassment by her managers, Jason Yesinko and

19   Prince Varma. As managers, these individuals were acting as agents of ORACLE, and

20   accordingly, ORACLE is vicariously liable for their harassment.

21          71.      As Plaintiff’s employer, ORACLE owed a duty to Plaintiff to prevent

22   discrimination and harassment from occurring against her in the workplace. ORACLE breached

23   its duty to Plaintiff by failing to take any steps to prevent the discrimination and harassment from

24   occurring.

25          72.      As a direct and proximate result of ORACLE’s unlawful harassment as herein

26   alleged, Plaintiff has suffered substantial damages, including lost compensation and benefits, lost

27   career opportunities and loss of reputation in an amount in excess of the jurisdictional minimum

28   of this Court, the precise amount to be proven at trial.

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 1           73.      As a further, direct and proximate result of ORACLE’s unlawful conduct as

 2   herein alleged, Plaintiff has suffered anguish, humiliation, and emotional distress, the extent of

 3   which is not fully known at this time and the damages for which are not yet fully ascertained, but

 4   which are in an amount in excess of the jurisdictional minimum of this Court, the precise amount

 5   to be proven at trial.

 6           74.      The conduct of ORACLE and its agents and employees, as described herein, was

 7   oppressive, fraudulent, and malicious, thereby entitling Plaintiff to an award of punitive damages

 8   against Defendant in an amount appropriate to punish and make an example of Defendant.

 9           WHEREFORE, Plaintiff prays for judgment against Defendants as hereinafter set forth.
10

11                                         INJUNCTIVE RELIEF
12           75.      By this reference, Plaintiff hereby incorporates paragraphs 1 through 74,

13   inclusive, of this Complaint as if set forth herein.

14           76.      Plaintiff has suffered irreparable injury and immediate harm due to the acts of

15   Defendants ORACLE CORPORATION AND ORACLE FINANCIAL SERVICES

16   SOFTWARE,INC. Plaintiff has no other legal remedy. In addition to the other relief requested in

17   this Complaint, Plaintiff seeks injunctive relief requiring Defendants to:

18                 a. Review Plaintiff’s personnel files and remove and destroy all documents that seek

19                    to justify the unlawful termination of Plaintiff’s employment; and,

20                 b. Establish a review process of all employment decisions made during the five

21                    years following judgment in this case so as to ensure that Defendants do not

22                    discriminate against and/or harass other employees because of their sex and/or

23                    age.

24

25   //

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                                                      -15-

                     COMPLAINT FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
              Case 3:19-cv-00865-LB Document 1 Filed 02/15/19 Page 16 of 21



 1                                       PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff prays that the Court grants judgment against Defendants
 3   ORACLE CORPORATION and ORACLE FINANCIAL SERVICES SOFTWARE, INC. under

 4   Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq., and the Age

 5   Discrimination in Employment Act, as amended, 29 U.S.C. § 621 et seq., as follows:

 6              a. Compensatory damages in excess of the jurisdictional minimum of this Court and

 7                 according to proof at trial pursuant to Plaintiff’s First, Second, Third, and Fourth

 8                 Claims for Relief;

 9              b. Emotional distress damages in amounts according to proof at trial pursuant to

10                 Plaintiff’s First, Second, Third, and Fourth Claims for Relief;

11              c. Punitive and exemplary damages in amounts according to proof at trial pursuant

12                 to Plaintiff’s First, Second, Third, and Fourth Claims for Relief;

13              d. Attorneys’ fees and costs in an amount according to proof at trial pursuant to

14                 Plaintiff’s First, Second, Third, and Fourth Claims for Relief and for the granting

15                 of Injunctive Relief under the applicable statutes (42 U.S.C. § 2000e-5(k) and 29

16                 U.S.C. § 626(b));

17              e. Prejudgment interest as provided by law pursuant to Plaintiff’s First, Second,

18                 Third, and Fourth Claims for Relief;

19              f. For an order granting injunctive relief pursuant to Plaintiff’s First, Second, Third,

20                 and Fourth Claims for Relief requiring Defendant to:

21                   1. Review Plaintiff’s personnel files and remove and destroy all documents that

22                      seek to justify the unlawful termination of Plaintiff’s employment; and

23                   2. Establish a review process of all employment decisions made during the five

24                      years following judgment in this case so as to insure that Defendant does not

25                      discriminate against and/or harass other employees because of their sex

26                      and /or age; and,

27

28
                                                    -16-

                   COMPLAINT FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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 1              g. Any such other and further relief as the Court may deem equitable and

 2                 appropriate.

 3

 4
     DATED: February 15, 2019                      THE LUCAS LAW FIRM
 5

 6

 7                                                 /s/Kathleen M. Lucas____________
                                                   Kathleen M. Lucas
 8                                                 Alisha S. Meyer
                                                   Attorneys for Plaintiff, Catherine M. Beardsley
 9

10

11

12

13                                   DEMAND FOR JURY TRIAL
14

15          As to all claims allowing for trial by jury, Plaintiff hereby demands a trial by jury as
16   provided by Rule 38(b) of the Federal Rules of Civil Procedure.
17

18

19   DATED: February 15, 2019                      THE LUCAS LAW FIRM
20

21
                                                   /s/Kathleen M. Lucas____________
22                                                 Kathleen M. Lucas
                                                   Alisha S. Meyer
23                                                 Attorneys for Plaintiff, Catherine M. Beardsley
24

25

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                  COMPLAINT FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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       ATTACHMENT A
                                 Case 3:19-cv-00865-LB Document 1 Filed 02/15/19 Page 19 of 21
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               Arizona Att,o rnev General's Office 2 Civil Rights Division and EEOC
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                  Beardsley                                                                                                      Redaction 23
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 NAME
                                                 DEC 262017                                                                    TELEPHONE NUMBER (Inc/llde Area Code)
     Oracle Corporation                                                                                                         650-506-7000
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 EXPLAIN THE PARTICULARS OF WHAT TOOK PLACE (If additional space is needed, attach extra sheet(s):

      I.      PERSONALHARM: I was
              PERSONAL        wassubjected
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                                                        termsand
                                                             andconditions,
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                                                                            andsubsequently
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                                                                                            terminated.
      II.  RESPONDENTSREASON
           RESPONDENTS        REASONFOR   FOR ADVERSE
                                               ADVERSE ACTION: None.         None.
           DISCRIMINATION STATEMENT: I believe
      III. DISCRIMINATION                           believeRespondent
                                                                Respondent    discriminated
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                                                                                      theAge  Discriminationin
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                               1967, as amended.   The particularc
                                         amended. The   particulars are:are:
      A.       On
               On oror about
                       about December
                              December 15, 15,2011,
                                                2011, I began
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                                                                       employment with Respondent as a Sales Director, most
              recently
              recently   my  position
                             position was
                                      was as  as an
                                                 an Account
                                                     Account Sales
                                                                Sales Representative.
                                                                       Representative. My My work perfonnance
                                                                                                      performance has has always
                                                                                                                           always been
                                                                                                                                    been
              satisfaetory.
               satisfactory.
      B.      On
               On oror about
                       about June
                               June 30, 2017
                                          2017 |I waswas terminated
                                                          tenninated from my employment
                                                                                    employment withwith the    pretext that II ha6
                                                                                                          the pretext           had notnot
              reached        sales goal.
               reached my sales    goal. II explained
                                            explained to to my
                                                            my manager,
                                                                 manager, Jay
                                                                            Jay Yesinko
                                                                                 Yesinko that
                                                                                           that two
                                                                                                two deals   that II contributed
                                                                                                     deals that     contributed toto in
                                                                                                                                      in aa
              significant
               significant way     were pending.
                            way were      pending. Shortly
                                                        Shortly after
                                                                  after my
                                                                         my termination
                                                                              termination those
                                                                                             those sales
                                                                                                     sales closed
                                                                                                            closed andand other
                                                                                                                            other male
                                                                                                                                    male
              employees
               employees were
                            were compensated
                                  compensated for   for them.
                                                        them. II am
                                                                 am also
                                                                      also aware
                                                                           aware that
                                                                                   that Mary
                                                                                        Mary Mowry
                                                                                               Mowry waswas terminated
                                                                                                              terminated that
                                                                                                                            that day
                                                                                                                                 day for
                                                                                                                                       for
              the
               the same
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                          reason. Out
                                   Out of
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                                                 thirteen people
                                                           people onon my
                                                                        my sales
                                                                            sales team,
                                                                                   team, nine
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                                                                                                         reach their
                                                                                                                their sales
                                                                                                                       sales goals.
                                                                                                                              goals. Out
                                                                                                                                     Out
              of
               of those
                   those nine,
                          nine, Respondent
                                  Respondent terminated
                                                  tenninated thethe only
                                                                     only two
                                                                            two older
                                                                                  older women
                                                                                         women in  in the
                                                                                                       the team.
                                                                                                            team. Shortly-after
                                                                                                                     Shortly after my  my
              termination
               termination II became
                                became aware
                                         aware thatthat both
                                                         both Ms.
                                                              Ms. Mowry
                                                                    Mowry and and II were
                                                                                      were replaced
                                                                                            replaced byby younger     males. II believe
                                                                                                           younger males.        believe
              Respondent
               Respondentterminated
                             terminated Ms.Ms. Mowry
                                                Mowry and and me
                                                               me because
                                                                   because ofofage
                                                                                age and
                                                                                      and sex.
                                                                                          sex.
      C.      II believe
                 believe and
                         and therefore
                              therefore allege
                                        allege that
                                                that Respondent
                                                     Respondent discriminated
                                                                discriminated against
                                                                              against me
                                                                                      me because
                                                                                         because of
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                                                                                                    my sex,
                                                                                                       sex, Female,
                                                                                                            Female,
              and  age,64.
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        ATTACHMENT B
                           Case 3:19-cv-00865-LB Document 1 Filed 02/15/19 Page 21 of 21

r     EEOCF_ III 1111')                    U . S. EaUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                   DISMISSAL AND NOTICE OF RIGHTS
     To    Catherine eeardsl.ti'                                                     From:    Phoenix Diatrict Office
                                                                                              3300 North Cenlral Ave
                 Redaction                                                                    Suite 690
                                                                                              Phoenix, AZ 85012


          o                 On behalf of f)(ffsonfs) BfXY'8W1d whose IOOntily is
                            CONFfDENTIAL (29 CFR ,s1601. 7(aJJ
    EEOC Charge No                              EEOC Represenlahve                                                  TeIephoM No.

                                                State & Local l. Program,
    35A·2018·00151                              State & Local Coordinator
    THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON :
      o          The facts aUeged In the charge fail to state a claim under any of the statutes enforced by the EEOC.


      o         Your allegations did not inyolve a disability as defined by the Americans With Disabilities Act.


      o         The Respondent employs 'ess than the required number of employees or is not otherwise covered by the           statutes.

      o         Your charge was not limely med with EEOC: in other words, you waited too long after the dale(a) of the aIeged
                discrimination to file your charge

     D         The EEOC issues the following determination: Based upon its investigation, the EEOC Is unable to conclude that the
               information obtained establishes violations of the statutes. This does not certify that the respondent Is In compliance with
               the statutes. No finding is made as 10 any olher issues thai might be construed as having been raised by this charge.

     o         The EEOC has adopted the findings of the slale or local fair employment practices agency that lin'''''''ligated alia '1"'1111

     o         Other (briefly state)



                                                        • NOTICE OF SUIT RIGHTS·
                                                  (See the additiona/lnformation attached to thIs form.)

ntle VII , the Americans with Disabilities Act, the GeneUc Information Nc,n,Us"rI,rnll,a11o
Jiscrimination in Employment Act: This will be the only notice of dismissal and of
'ou may file a lawsuit against the respondent(s) under federal law based on this
3wsuit must be filed WITHIN 90 DAYS of your receipt of thle notice;
)51. (The time limit for filing suit based on a claim under state law may be dffi..enll.j


:qual Pay Act (EPA): EPA suits must be filed in federal or state court within
lIeged EPA underpayment. This means that backpay due for any .v·~
efore you file suit may not be collectible.




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